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                                                                         MP

                                                                 Aug 7, 2024

                                                                           Miami
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  attempted use, and threatened use of physical force against property and against the person of

  another in violation of the laws of the �nited States, to wit: the crime charged in Count 2 as charged

  in this Indictment and under circumstances strongly corroborative of that intent, solicited,

  commanded, induced, and otherwise endeavored to persuade such other persons to engage in such

  conduct, in violation of Title 18, United States Code, Section 373.

                                              COUNT2
                                          Interstate Stalking
                                         18 U.S.C. § 2261A(l)

         From on or about August 20, 2019, continuing through on or about August 27, 2019, in

  Miami-Dade County, in the Southern District of Florida and elsewhere, the defendants,

                                     ROLANDO RAMIREZ,
                                            and
                                   RASHEED ALI, a/k/a "Fresh,"

  did willfully induce and procure Jaime Serrano and Julian Jimenez to travel in interstate commerce,

  that is, from the State of New York to the State of Florida, with the intent to kill, injure, harass,

  and intimidate, and place under surveillance with intent to kill, injure, harass, and intimidate

  another person, that is, Victim 1, and in the course of, and as a result of, such travel engaged in

  conduct that placed Victim I, and his spouse, and an immediate family member of Victim 1, in

  reasonable fear of death and serious bodily injury to Victim 1, in violation of Title I8, United States

  Code, Sections 2261(A)(I)(i-iii) and 2.

                                          COUNT3
               Conspiracy to Use and Carry a Firearm During a Crime of Violence
                                      18 u.s.c. § 924(0)

         Beginning in or around 2017, the exact date being unknown to the Grand Jury, and

  continuing through and including on or about August 27, 2019, in Miami-Dade County, in the

  Southern District of Florida and elsewhere, the defendants,


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                                       ROLANDO RAMIREZ,
                                              and
                                     RASHEED ALI, a/k/a "Fresh,"

  did knowingly and willfully combine, conspire, confederate, and agree with each other and with

  others known to the Grand Jury, to use and carry a firearm during and in relation to a crime of

  violence, and to possess a firearm in furtherance of a crime of violence, an offense for which the

  defendants may be prosecuted in a court of the United States, that is, a violation of Title 18, United

  States Code, Section 226lA(l), as -charged
                                         - .
                                             in Count 2 of this Indictment, in violation of Title 18,

  United States Code, Section 924(c)(1)(A); all in violation of Title 18, United States Code, Section

  924(0).

                                             COUNT4
                     Discharging a Firearm in Furtherance of a Crime of Violence
                                     18 U.S.C. § 924(c)(l)(A) (iii)

            Between on or about August 24, 2019, and continuing through on or about August 2 7, 2019,

  in Miami-Dade County, in the Southern District of Florida and elsewhere, the defendants,

                                       ROLANDO RAMIREZ,
                                              and
                                     RASHEED ALI, a/k/a "Fresh,"

  did knowingly use and carry a firearm during and in relation to a crime of violence, and did

  knowingly possess a firearm in furtherance of a crime of violence, an offense for which the

  defendants may be prosecuted in a court of the United States, that is, a violation of Title 18, United

  States Code, Section 2261A(l), as charged in Count 2 of this indictment, in violation of Title 18,

  United States Code, Sections 924(c)(l)(A) and 2.

            Pursuant to Title 18, United States Code, Section 924(c)(1)(A)(iii), it is further alleged that

  the firearm was discharged.




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                                            COUNTS
                                    Murder for Hire Conspiracy
                                       18 U.S.C. § 1958(a)

         Beginning in or around 2017, an exact date being unknown to the Grand Jury, and

  continuing through and including on or about August 27, 2019, in Miami-Dade County, in the

  Southern District ofFlorida, and elsewhere, the defendants,

                                     ROLANDO RAMIREZ,
                                            and
                                   RASHEED ALI, a/k/a "Fresh,"

  did knowingly and intentionally conspire with others known to the Grand Jury to use and cause

  another to use a facility ofinterstate and foreign commerce, with intent that the murder ofVictim

  1 be committed, in violation oflaws ofthe State ofFlorida, as consideration for the receipt of, and

  as consideration for a promise and agreement to pay, something ofpecuniary value, in violation of

  Title 18, United States Code, Section 1958(a).

                                             COUNT6
                                          Murder for Hire
                                         18 U.S.C. § 1958(a)

         Beginning in or around 2017, an exact date being unknown, and continuing through and

  including on or about August 27, 2019, in Miami-Dade County, in the Southern District ofFlorida,

  and elsewhere, the defendants,

                                     ROLANDO RAMIREZ,
                                            and
                                   RASHEED ALI, a/k/a "Fresh,"

  did knowingly and intentionally use, and cause another to use, a facility ofinterstate and foreign

  commerce, with intent that the murder ofVictim 1 be committed, in violation ofthe laws of the

  State of Florida, as consideration for the receipt of, and as consideration for a promise and




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  agreement to pay, something of pecuniary value, in violation of Title 18, United States Code,

  Sections 1958(a) and 2.

                                            COUNT7
                                       Obstruction of Justice
                                        18 U.S.C. § 1503(a)

         On or about August 10, 2022, and continuing through on or about December 9, 2023, in

  Miami-Dade County, in the Southern District ofFlorida, and elsewhere, the defendants,

                                   ROLANDO RAMIREZ,
                                 RASHEED ALI, a/k/a "Fresh"
                                          and
                                TAMRAT MASON, a/k/a "Shifta,"

  did knowingly and intentionally hinder, delay, and prevent the communication to a law

  enforcement officer of the United States of information relating to the commission or possible

  commission ofa Federal offense as set forth in Counts 1-6 ofthis Indictment, in violation ofTitle

  18, United States Code, Section 1512(a)(l)(C).

                                 FORFEITURE ALLEGATIONS

         1.      The allegations ofthis Indictment are hereby re-alleged and by this reference fully

  incorporated herein for the purpose ofalleging forfeiture to the United States ofAmerica ofcertain

  property in which the defendants, ROLANDO RAMIREZ, RASHEED ALI, and TAMRAT

  MASON, have an interest.

         2.      Upon conviction ofa violation ofTitle 18, United States Code, Sections 924(c) or

  a conspiracy to commit a violation of Title 18, United States Code, Section 924(c), that is, Title

  18, United States Code, Section 924(0), or any other criminal law ofthe United States, as alleged

  in this Indictment, the defendant shall forfeit to the United States any firearm and ammunition

  involved in or used in the commission of such offense, pursuant to Title 18, United States Code,

  Section 924(d)(l).

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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

  Defendant's Name:      ROLANDO RAMIREZ

  Case No: _______________________________

  Count#: 1

  Solicitation to Commit a Crime of Violence
  Title 18, United States Code, Section 373

  * Max. Term of Imprisonment: 20 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000

  Count#: 2

  Stalkin

  Title 18, United States Code, Section 2261A
  * Max. Term of Imprisonment: 10 years
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000

  Count#: 3

  Conspiracy to Use and Carry a Firearm During a Crime of Violence
  Title 18, United States Code, Section 924(0)

  * Max. Term of Imprisonment: 20
  * Mandatory Min. Term of Imprisonment (if applicable): N/A
  * Max. Supervised Release: 3 years
  * Max. Fine: $250,000




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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  Count#: 4

  Discharging a Fireann in Furtherance of a Crime of Violence

  Title 18, United States Code, Section 924(c)(l)(A)(iii)
  *Max.Term of Imprisonment: Life
  *Mandatory Min.Term of Imprisonment (if applicable): 10 years
  *Max. Supervised Release: 5 years
  *Max. Fine: $250,000

  Count#: 5

  Murder for Hire Conspiracy

  Title 18, United States Code, Section 1958
  *Max.Term of Imprisonment: Life
  *Mandatory Min.Term of Imprisonment (if applicable): N/A
  *Max. Supervised Release: 5 years
  *Max. Fine: $250,000

  Count#: 6

  Murder for Hire

  Title 18 United States Code Section 1958
  *Max.Term of Imprisonment: Life
  *Mandatory Min. Term of Imprisonment (if applicable): N/A
  *Max. Supervised Release: 5 years
  *Max. Fine: $250,000

  Count#: 7

  Obstruction of Justice

  Title 18, United States Code, Section 1503(a)
  *Max.Term of Imprisonment: 10 years
  *Mandatory Min.Term of Imprisonment (if applicable): N/A
  *Max. Supervised Release: 3 years
  *Max. Fine: $250,000




   *Refers only to possible term of incarceration, supervised release and fines. It does not include
         restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                         PENALTY SHEET

   Defendant's Name: -=====-=--===----------------------
                      RASHEED ALI

   Case No: -------------------------------

   Count#: 1

   Solicitation to Commit a Crime of Violence
   Title 18 United States Code Section 373

   *Max.Term of Imprisonment: 20 years
   *Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max.Supervised Release: 3 years
   * Max. Fine: $250,000

   Count#: 2

   Stalkin

   Title 18, United States Code, Section 226 lA
   *Max.Term of Imprisonment: 10 years
   *Mandatory Min.Term of Imprisonment (if applicable): N/A
   *Max.Supervised Release: 3 years
   *Max.Fine: $250,000

   Count#: 3

   Conspiracy to Use and Carry a Firearm During a Crime of Violence
   Title 18, United States Code, Section 924(0)

   *Max.Term of Imprisonment: 20
   * Mandatory Min.Term of Imprisonment (if applicable): N/A
   * Max. Supervised Release: 3 years
   *Max.Fine: $250,000




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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   Count#: 4

   Discharging a Firearm in Furtherance of a Crime of Violence

   Title 18, United States Code, Section 924(c)(l)(A)(iii)
   *Max.Term of Imprisonment: Life
   *Mandatory Min.Term of Imprisonment (if applicable): 10 years
   *Max. Supervised Release: 5 years
   *Max. Fine: $250,000

   Count#: 5

   Murder for Hire Conspiracy

   Title 18, United States Code, Section 1958
   *Max.Term of Imprisonment: Life
   *Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: 5 years
   *Max. Fine: $250,000

   Count#: 6

   Murder for Hire

   Title 18, United States Code, Section 1958
   *Max.Term of Imprisonment: Life
   *Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: 5 years
   *Max. Fine: $250,000

   Counts#: 7

   Obstruction of Justice

   Title 18, United States Code, Section 1503(a)
   *Max.Term of Imprisonment: 10 years
   *Mandatory Min.Term of Imprisonment (if applicable): NIA
   *Max. Supervised Release: 3 years
   *Max. Fine: $250,000




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                                          PENALTY SHEET

   Defendant's Name:        TAMRAT MASON

   Case No: _______________________________

   Count#: 7

   Obstruction of Justice

   Title 18, United States Code, Section 1503(a)
   * Max. Term of Imprisonment: 10 years
   * Mandatory Min. Term of Imprisonment (if applicable): NIA
   * Max. Supervised Release: 3 years
   * Max. Fine: $250,000




    *Refers only to possible term of incarceration, supervised release and fines. It does not include
          restitution, special assessments, parole terms, or forfeitures that may be applicable.
